 

IN 'I`HE UNITED STATES DISTRICT COURT
FOR THE NOR'I`HERN DISTRICT OF 'I`EXAS
FORT WORTH DI\/ISION

UNI'I`ED STATES OF AMERICA

v, No. 4:17~CR~ HQ§§ 0

ANDREA SUE COKER (€;12=,.
a/k/a “Skittles”

FACTUAL RESUME

INFORMATION: Ccunt One: Conspiracy to Possess with Intent to Distribute a
Controlled Substance (methamphetamine) (in violation of
21 U.S.C. § 846, and 21 U.S.C. §§ 84l(a)(1) and (b)(l)(B))

PENALTY: $5,000,000 fine ~ not less than 5 years imprisonment and not more than 40
years imprisonment, or both such fine and imprisonment, plus a term of
supervised release of not less than 4 years.

MAXIMUM PENALTY:
$5,000,000 fine and not less than five (5) years nor more than forty (40)
years imprisonment, plus a term of supervised release of not less than 4
years. If the defendant violates any condition of supervised release, the
Court may revoke such term of supervised release and require the defendant
to serve an additional period of confinement Further the Court must
impose a Mandatory Special Assessment of $100.00.

ELEMENTS OF THE OFFENSE:

The essential elements Whieh must be proved beyond a reasonable doubt in order to
establish the offenses charged in Count One of the information are as follows:

First: That two or more persons, directly or indirectly, reached an agreement to
distribute or possess with intent to distribute a controlled substance, as
charged in the indictment;

Second: That the defendant knew of the unlawful purpose of the agreement;

Third: "I`hat the defendant joined in the agreement willfully, that is, with the intent
to further its unlawful purpose; and

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Eourth: That the overall scope of the conspiracy involved at least 50 grams of a
mixture or substance containing a detectable amount of methamphetamine
a Schedule II controlled substance

STIPULATED FACTS:

Andrea Sue Coker received a half ounce of methamphetamine from Tammi Sharp.
'Martha Rodgers, aka Mama Frost, gave her about an eight~ball worth altogether. Alisha
Feeney, Patrick Graydon and Nikki Risovi smoked howls with her, as well as many
others, on a number of occasions Coker smoked with Graydon three times a week or so
for about six months, about a bowl at a time. Nikki Risovi also gave her a gram cf
methamphetamine each time Coker cleaned her apartment, which was about three times.
Davis Dobbs gave her about an eight~ball worth over time. She stayed with him for
about one night a Week for two months A man named “Wild Bill” gave her altogether
maybe another eight~ball. Sometimes she and her friends would buy each other a meal in
exchange for a bowl. Haldon Stikeleather paid her with a quarter ounce of
methamphetamine four times to take care of his boys. Coker also stole
methamphetamine from a number of people. In turn, Andrea Sue Coker distributed (by
sharing) methamphetamine with various persons in the Fort Worth, Texas area. Tonya
Blackwood was Nikki Risovi’s girlfriend Laci Whisenant supplied J`ohnny Sweatman,
one of Coker’s friends. Coker was with lack Gossett one time, on a motorcycle, when he
brought Celeste Blair methamphetamine Eric Summers is Blair’s Asian boyfriend.
Gossett may have obtained methamphetamine from Michaei Barrett, aka Motorcycle
Mike. Tonya Barrett was with Michael Barrett for a long time. Stanley Mack, an elderly
man, would smoke with them before they went to the Gameroom, and she was with him
when he made a pickup one time in Dallas. In this manuer, Andrea Sue Coker conspired
with various individuals to possess with intent to distribute more than 50 grams of
methamphetamine

sIGNED this ll day of gap w ,2017.

 

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Defendant - ’ Counsei for Defendant

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